

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-56,393-17






DAVID MATTHEW LAYTON, Relator


v.


OCHILTREE COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 1760

IN THE 84TH JUDICIAL DISTRICT COURT FROM OCHILTREE COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 84th Judicial District Court of Ochiltree County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Ochiltree County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Ochiltree County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response. 

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: November 24, 2010

Do not publish	


